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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5
 6   Attorney for Defendant
     CHRISTINA MARTINEZ
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                     )       No. 1:15-cr-00046 LJO-SKO-1
                                                   )
12                  Plaintiff,                     )       STIPULATION TO CONTINUE
                                                   )       SENTENCING AND ORDER
13          v.                                     )
                                                   )
14   CHRISTINA ANTONIA MARTINEZ,                   )       DATE: December 3, 2018
                                                   )       TIME: 8:30 a.m.
15                  Defendant.                     )       JUDGE: Hon. Lawrence J. O’Neill
                                                   )
16                                                 )

17
18          IT IS HEREBY STIPULATED by and between the parties, through their respective

19   counsel, that the sentencing hearing scheduled for April 30, 2018, may be continued to

20   December 3, 2018, or the soonest date thereafter convenient to the Court.

21          This continuance is requested to allow the parties additional time to gather relevant

22   information that should be considered by the Court prior to imposing sentence.

23          The parties agree that the delay resulting from this continuance shall be excluded in the

24   interest of justice, for effective defense investigation and preparation, pursuant to 18 U.S.C. §

25   3161(h)(7)(A). The parties further agree that they shall not request further sentencing

26   continuances in this matter.

27   ///

28
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 1                                                          Respectfully submitted,
 2                                                          McGREGOR W. SCOTT
                                                            United States Attorney
 3
 4   DATED: April 24, 2018                                  /s/ Kathleen A. Servatius
                                                            KATHLEEN A. SERVATIUS
 5                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
 6
 7                                                          HEATHER E. WILLIAMS
 8                                                          Federal Defender

 9
     DATED: April 24, 2018                                  /s/ Eric V. Kersten
10                                                          ERIC V. KERSTEN
                                                            Assistant Federal Defender
11                                                          Attorney for Defendant
                                                            CHRISTINA MARTINEZ
12
13
14
15                                                   ORDER
16           The sentencing hearing for Christina Martinez is continued to December 3, 2018 at 8:30
17   a.m.
18
     IT IS SO ORDERED.
19
20       Dated:       April 25, 2018                         /s/ Lawrence J. O’Neill _____
                                                     UNITED STATES CHIEF DISTRICT JUDGE
21
22
23
24
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28




      Martinez: Stipulation to Continue Sentencing    -2-
